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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )         4:05CR3025
                                         )
                  Plaintiff,             )
                                         )
      vs.                                )         MEMORANDUM
                                         )         AND ORDER
LILLIAN RUIZ,                            )
                                         )
                  Defendant.             )

      At the request of the United States Marshal’s Service,

      IT IS ORDERED that Defendant Ruiz’s evidentiary hearing and sentencing are
continued to Wednesday, October 4, 2006, at 2:30 p.m., before the undersigned
United States District Judge, in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska. Since this is a
criminal case, the defendant shall be present unless excused by the court.

      September 25, 2006.                    BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
